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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

    PROCCOR PHARMACEUTICALS, INC.,

                     Plaintiff,

    v.                                                    Case No. 8:22-cv-2227-SDM-SPF

    WORLD HEALTH PRODUCTS, LLC
    d/b/a GAT SPORT, and VITAMIN
    SHOPPE INDUSTRIES LLC d/b/a
    THE VITAMIN SHOPPE,

                Defendants.
    _______________________________________/

                                              ORDER

              Before the Court is Plaintiff Proccor Pharmaceuticals, Inc.’s motion to compel

    Defendant World Health Products, LLC d/b/a GAT Sport to produce financial worth

    discovery (Doc. 146). GAT Sport opposes the motion (Doc. 147), and Plaintiff filed a

    reply (Doc. 158). For the reasons stated below, Plaintiff’s motion is granted. GAT Sport

    is directed to produce documents in response to Plaintiff’s document production requests

    16, 17, and 18 within 14 days of this Order.

         I.      Background

              Plaintiff Proccor is a dietary supplement company that has sold products under the

    brand name “Freedom Pop” since January 2016 (Doc. 92 (“2nd Amend. Cmplt.”) at ¶ 7).

    Defendant GAT Sport sells dietary supplements online and through retailers, including

    through Defendant Vitamin Shoppe (Id. at ¶ 2). Proccor alleges that GAT Sport used its

    “Freedom Pop” mark on product labels, despite that Plaintiff maintains a federal
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    registration and despite Plaintiff’s cease-and-desist notice (Id. at ¶¶ 9-11). Proccor sues

    Defendants for trademark infringement under the Lanham Act and for unfair competition

    under Florida common law.           GAT Sport denies Plaintiff’s allegations and asserts

    counterclaims for cancellation of the mark (on numerous bases) and for declarations of

    non-infringement (see Doc. 101). It represents it stopped selling “Freedom Pop” products

    in 2022 after Plaintiff sued (Id. at 23, ¶ 9).

             During discovery, Proccor asked for GAT Sport’s most recent audited and

    unaudited financial statements and “[d]ocuments sufficient to show your net worth.”

    (Doc. 146, Ex. A at 8-9). GAT Sport objected that these requests are irrelevant and

    disproportional to the needs of the case (Id.). On September 28, 2023 – the day before

    discovery closed (see Docs. 144-45) – Plaintiff moved to compel GAT Sport to respond to

    its requests and produce the financial worth documents, contending they relate to its

    demand for punitive damages for GAT Sport’s unfair competition (Doc. 146). GAT Sport

    responded that punitive damages are not recoverable for unfair competition based on

    trademark infringement, because (1) the Lanham Act (which provides the foundation for

    Proccor’s unfair competition claim) does not allow for them, (2) Plaintiff did not include

    a punitive damages computation in its Rule 26 initial disclosures, so any request for them

    is waived, and (3) Proccor has not made the evidentiary showing required by Fla. Stat. §

    768.72 to obtain financial worth discovery (Doc. 147).

       II.      Standard

             Discovery under the Federal Rules of Civil Procedure is governed by the principle

    of proportionality. Rule 26(b)(1) defines the scope of discovery:
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              Parties may obtain discovery regarding any nonprivileged matter that
              is relevant to any party’s claim or defense and proportional to the needs
              of the case, considering the importance of the issues at stake in the
              action, the amount in controversy, the parties’ relative access
              to relevant information, the parties’ resources, the importance of the
              discovery in resolving the issues, and whether the burden or expense of
              the proposed discovery outweighs its likely benefit.

    Fed. R. Civ. P. 26(b)(1). Proportionality requires counsel and the court to consider if

    relevant information is discoverable in view of the needs of the case. The court must

    “consider these and all the other factors in reaching a case-specific determination of the

    appropriate scope of discovery.” Fed. R. Civ. P. 26 Advisory Committee’s Note to 2015

    Amendment.

           Motions to compel discovery are committed to the sound discretion of the trial

    court. See Com. Union Ins. Co. v. Westrope, 730 F.2d 729, 731 (11th Cir. 1984). The

    proponent of a motion to compel discovery bears the initial burden of proving that the

    information sought is relevant. Moore v. Lender Processing Servs. Inc., No. 3:12-CV-205-J,

    2013 WL 2447948, at *2 (M.D. Fla. June 5, 2013). “A party resisting discovery must

    establish ‘lack of relevancy or undue burden in supplying the requested information.’”

    Craig v. Kropp, No. 2:17-cv-180-FtM-99CM, 2018 WL 1121924, at *3 (M.D. Fla. Mar. 1,

    2018) (quoting Gober v. City of Leesburg, 197 F.R.D. 519, 521 (M.D. Fla. 2000)).

       III.   Discussion

           Proccor pleads punitive damages as a component of the relief it seeks against GOT

    Sport as to its unfair competition claim (2nd Amend. Cmplt. at ¶¶ 24-28). GOT Sport

    counters with a two-step argument. First, it states it is “hornbook law that the Lanham

    Act does not include punitive damages as a remedy for infringement of federally registered
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    marks.” (Doc. 147 at 2, citing 15 U.S.C. § 1117(a) (damages for trademark infringement

    “shall constitute compensation and not a penalty.”)). Then, with no on-point legal

    support, GOT Sport segues into what resembles a preemption argument: “Congress

    created a system for interstate trademark infringement and unfair competition under the

    Lanham Act[,]” Proccor’s unfair competition claim “is simply a regurgitation of its claim

    under the Lanham Act under the guise of a state law claim[,]” and it “is not an

    independent claim at all.” (Id. at 4-5).

           GAT Sport is correct that punitive damages cannot be recovered under the

    Lanham Act. Babbit Elec., Inc. v. Dynascan Corp., 38 F.3d 1161, 1183 (11th Cir. 1994)

    (“Such an award is discretionary, but it may not be punitive, and must be based on a

    showing of actual harm.”). Yet punitive damages “are available under Florida common

    law for non-Lanham Act violations in the same action.” Rain Bird Corp. v. Taylor, 665

    F.Supp.2d 1258, 1272 (N.D. Fla. 2009); see also Galaxy Am., Inc. v. EZ Inflatables, Inc., No.

    2:19-cv-855-JES-MRM, 2021 WL 12092648, at *5 (M.D. Fla. Aug. 17, 2021) (granting

    plaintiff’s motion to amend complaint under Rule 15 to include punitive damages as

    component of its claim for trademark infringement under Florida law); Victoria’s Cyber

    Secret Ltd. P’ship v. V Secret Catalogue, Inc., 161 F.Supp.2d 1339, 1356-57 (S.D. Fla. 2001)

    (“[T]he Court recognizes that punitive damages are available under Florida state and

    common laws for non-Lanham Act violations in the same action.”); Red Bull GmbH v.

    Spacefuel Corp., No. 06-20948-CIV-JORDAN, 2007 WL 9702201, at *2 (S.D. Fla. Feb. 13,

    2007) (“Moreover, my review of the limited case law on the issue indicates that, while

    punitive damages may be awarded [under Florida law] in the context of a trademark
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    infringement violation under certain circumstances, the nature, extent and degree of the

    misconduct in this case does not rise to the level of wrongfulness for which an award of

    punitive damages is warranted.”).

           Next, GAT Sport asks the Court to deny Plaintiff’s motion, arguing that “§ 768.72,

    Fla. Stat. precludes financial worth discovery where the party seeking it has not made an

    evidentiary showing or proffer sufficient to be entitled to seek such discovery.” (Doc. 147

    at 6). Section 768.72, Fla. Stat., provides:

           In any civil action, no claim for punitive damages shall be permitted unless
           there is a reasonable showing by evidence in the record or proffered by the
           claimant which would provide a reasonable basis for recovery of such damages.
           . . . No discovery of financial worth shall proceed until after the pleading
           concerning punitive damages is permitted.

    Fla. Stat. § 768.72(1). The Eleventh Circuit has divided the statute into two components:

    (1) the pleading component, which requires a plaintiff to obtain leave of court before

    including a prayer for punitive damages; and (2) the discovery component, which requires

    a plaintiff to produce evidence that shows a reasonable basis for punitive damages before

    seeking financial worth discovery. A.M. by and through Malcolm v. Bayfront HMA Med. Ctr.,

    No. 8:18-cv-2398-JSM-SPF, 2022 WL 17417011, at *2 (M.D. Fla. Dec. 5, 2022) (citation

    omitted).

           “It is well-settled that the pleading component of section 768.72 does not apply to

    cases in federal court because it conflicts with Rule 8.” Id. (citing Cohen v. Office Depot,

    Inc., 184 F.3d 1292, 1299 (11th Cir. 1999), vacated in part, 204 F.3d 1069 (11th Cir. 2000)

    (“Cohen II”)). Consequently, “a Florida plaintiff in federal court because of diversity

    jurisdiction need not obtain leave of court before pleading a request for punitive damages.”
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    Id. (quoting Cohen II, 204 F.3d at 1072). Instead, when pleading punitive damages, “a

    plaintiff must merely comply with Federal Rule of Civil Procedure 8(a)(3), which requires

    ‘a concise statement identifying the remedies and the parties against whom relief is

    sought.’” Gallina v. Com. and Indus. Ins., No. 8:06-cv-1529-T-27EAJ, 2008 WL 3895918,

    at *1 (M.D. Fla. Aug. 15, 2008).

           Regarding the discovery component of Fla. Stat. § 768.72, in Porter v. Ogden, Newell

    & Welch, 241 F.3d 1334, 1340 (11th Cir. 2001), the Eleventh Circuit left open whether the

    it applies to financial worth discovery as to punitive damages claims in diversity cases,

    and Middle District of Florida courts have divided on the issue. See A.M. by and through

    Malcolm, 2022 WL 17417011, at *2-3 (collecting cases). Under these circumstances, and

    as the undersigned stated in A.M. by and through Malcolm, “[t]he Court need not resolve

    this issue today[.]” Id. at *3. In Florida, “punitive damages are appropriate when a

    defendant engages in conduct which is . . . committed with such gross negligence as to

    indicate a wanton disregard for the rights and safety of others.” Owens-Corning Fiberglass

    Corp. v. Ballard, 749 So.2d 482, 486 (Fla. 1999).

           Here, in its Second Amended Complaint, Proccor alleges GAT Sport engaged in

    unfair competition under Florida common law and that its “wrongful and deceptive

    conduct” was done with “malice, oppression, and fraud, thus entitling Proccor to punitive

    damages.” (2nd Amend. Cmplt. at ¶¶ 26-27). Proccor specifically alleges that GAT Sport

    continued its unlawful use of the mark on its product labels and in its marketing and

    advertising materials after receiving Proccor’s cease and desist letter (Id. at ¶ 11). Proccor

    demands “money damages exceeding $75,000, including compensatory, treble, and
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    punitive damages, preliminary and permanent injunctive relief, attorneys’ fees and costs,

    and all other and further relief that this Court deems just.” (Id. at 7). At bottom, under

    Rule 8 and Florida law, Proccor’s Second Amended Complaint pleads specific acts GAT

    Sport committed that provide a reasonable basis to include punitive damages as a

    component of Proccor’s unfair competition claim.

           GAT Sport makes two final arguments, neither of which carries the day. First, it

    points out that Proccor requests punitive damages as to every count in its Second

    Amended Complaint, even the Lanham Act counts which clearly do not permit recovery

    of punitive damages. To GAT Sport, this evinces sloppy, “imprecise” lawyering (Doc.

    147 at 2). But objecting to discovery requests is not the proper vehicle to test the

    appropriateness of a punitive damages award. See Ward v. Estaleiro Itajai S/A, 541

    F.Supp.2d 1344, 1359 (S.D. Fla. 2008) (“To hold that the plaintiff in an action at law may

    have discovery of damages is not to say that the remedy will be granted as of course, or

    that protection will not be given to his adversary against impertinent intrusion . . . .”)

    (quoting Sinclair Refining Co. v. Jenkins Petroleum Process Co., 289 U.S. 689, 696-97 (1933)).

    In any event, Proccor represents it is pursuing punitive damages for unfair competition

    only (Doc. 158 at 2, n.1).

           Second, GAT Sport contends that Proccor has waived any claim to punitive

    damages because it did not disclose a computation of them under Rule 26(a)(1)(A)(iii).

    This rule obligates parties to disclose – without awaiting a discovery request – a

    “computation of each category of damages claimed by the disclosing party.” Fed. R. Civ.

    P. 26(a)(1)(A)(iii). The parties devote much of their briefs to sparring on this point. On
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    the one hand, GAT Sport complains that Proccor’s Rule 26 initial disclosures (served on

    January 16, 2023) “entirely excluded reference to punitive damages.” (Doc. 147 at 3).

    And, “it was not until September 25, 2023, only days before the conclusion of discovery

    and the filing of the instant motion to compel, that Proccor served a ‘supplemental

    disclosure’ to make tacit reference to a purported punitive damages claim[.]” (Id.). Citing

    Rule 37(c)(1), GAT Sport argues the Court should exclude punitive damages evidence

    (i.e., the financial worth discovery Proccor seeks) unless Proccor’s failure to disclose was

    substantially justified or harmless, a showing Proccor has not made (Id.). Proccor, on the

    other hand, points out that it supplemented its initial disclosures within the discovery

    period under Rule 26(e)(1)(A) to reference punitive damages once GAT Sport brought this

    issue to its attention. 1

            The Court will not preclude Plaintiff from seeking punitive damages discovery

    simply because it did not include a punitive damages computation in its Rule 26

    disclosures.    Rule 26’s “disclosure provision applies only with respect to materials

    available to the party seeking monetary relief, and where the materials necessary for the

    computation are not in this party’s possession,” the disclosure requirement does not apply.

    Wright & Miller, 8A Fed. Prac. & Proc. Civ. § 2053 (3d ed.); see also Okereke v. Cmty.

    Hospice of N.E. FL, Inc., No. 3:15-cv-235-J-32MCR, 2015 WL 5601960, at *2 (M.D. Fla.


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      Plaintiff’s Supplemental Disclosure states: Proccor “supplements its Rule 26 disclosures
    to include treble and punitive damages as pled in the Complaint and the Amended
    Complaint. Proccor cannot compute the amount of punitive damages because the fact
    finder determines the amount of punitive damages and that calculation depends in part
    on the Defendants’ financial net worth. The Defendants have refused to provide their
    current financial worth information to Proccor.” (Doc. 158-1 at 1-2).
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    Sept. 22, 2015) (collecting cases and directing plaintiff to amend her initial disclosures

    “except as to any non-economic compensatory damages for emotional distress, pain and

    suffering, and punitive damages, which Plaintiff intends to leave to the jury.”). At this

    juncture, Plaintiff does not have enough information to make a reasonable calculation of

    GAT Sport’s net worth.

       IV.      Conclusion

       The financial worth discovery Proccor requests is limited to GAT Sport’s current

    financial situation. Under Rule 26, the discovery is relevant to Proccor’s punitive damages

    claim and is proportionate to the needs of the case. The Court ORDERS:

             (1) Plaintiff’s Motion to Compel Production of Financial Worth Documents (Doc.

                146) is GRANTED. Defendant GAT Sport is directed to produce documents

                responsive to requests 16, 17, and 18 of Proccor’s Fourth Request for

                Production of Documents within 14 days of this Order; and

             (2) Plaintiff’s request for attorneys’ fees incurred in bringing its motion is denied

                under Rule 37(a)(5)(A)(ii).

             ORDERED in Tampa, Florida, on November 8, 2023.




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